Case 18-25358-JNP      Doc 41    Filed 08/03/21 Entered 08/03/21 14:44:19              Desc Main
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       UNITED STATES BANKRUPTCY COURT
       DISTRICT OF NEW JERSEY
                                                                 Order Filed on August 3, 2021
       Caption in Compliance with D.N.J. LBR 9004-1(b)           by Clerk
       PARKER McCAY P.A.                                         U.S. Bankruptcy Court
                                                                 District of New Jersey
       BRIAN E. CAINE, ESQ.
       9000 Midlantic Drive; Suite 300
       P.O. Box 5054
       Mt. Laurel, New Jersey 08054
       (856) 985-4059
       Attorney for U.S. Bank Trust National Association,
       as Trustee of Dwelling Series IV Trust, its successors
       and/or assigns


       In Re:                                                   Case No. 18-25358-JNP
                                                                Hearing: August 3, 2021
       Osiris E. Padilla
                                                                Judge: Jerrold N. Poslusny Jr.



                             ORDER VACATING AUTOMATIC STAY
                                  AS TO REAL PROPERTY


             The relief set forth on the following pages, numbered two (2) through two (2) are
             hereby ORDERED.




 DATED: August 3, 2021
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      (Page 2)
      Debtor: Osiris E. Padilla
      Case No: 18-25358-JNP
      Caption of Order: ORDER VACATING AUTOMATIC STAY AS TO REAL PROPERTY



                Upon the motion of U.S. Bank Trust National Association, as Trustee of Dwelling

      Series IV Trust, its successors and/or assigns, (“Movant”), for relief from the automatic stay

      under section 362 as to certain real property as herein set forth, and for cause shown, it is

      hereby:

                ORDERED that the automatic stay under section 362 is vacated to permit the Movant

      to institute or resume and prosecute to conclusion one or more actions in the court(s) of

      appropriate jurisdiction to pursue the Movant’s rights in the following real property:

                           21 Charles Avenue, Pleasantville, New Jersey 08232

                It is further ORDERED that the Movant may join the Debtor and any Trustee

      appointed in this case as defendants in its action(s) irrespective of any conversion to any

      other chapter of the Bankruptcy Code.

            The Movant shall serve this order on the Debtor, Debtor's attorney, any trustee and any

      other party who entered an appearance on the motion.
